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                                           1   Jedediah Wakefield (CSB No. 178058)
                                               jwakefield@fenwick.com
                                           2   Matthew Becker (CSB No. 291865)
                                               mbecker@fenwick.com
                                           3   Esther D. Galan (CSB No. 335763)
                                               egalan@fenwick.com
                                           4   FENWICK & WEST LLP
                                               555 California Street, 12th Floor
                                           5   San Francisco, CA 94104
                                               Telephone: 415.875.2300
                                           6   Facsimile: 415.281.1350

                                           7   Brian D. Buckley (pro hac vice forthcoming)
                                               bbuckley@fenwick.com
                                           8   FENWICK & WEST LLP
                                               1191 Second Avenue, 10th Floor
                                           9   Seattle, WA 98101
                                               Telephone: 206.389.4510
                                          10   Facsimile: 206.389.4511

                                          11   Janie Yoo Miller (CSB No. 312715)
                                               jmiller@fenwick.com
                                          12   FENWICK & WEST LLP
F ENWICK & W EST LLP




                                               228 Santa Monica Boulevard, Suite 300
                       ATTORNEYS AT LAW




                                          13   Santa Monica, CA 90401
                                               Telephone: 310.434.5400
                                          14   Facsimile: 650.938.5200

                                          15   Counsel for Defendant
                                               AMAZON.COM, INC.
                                          16

                                          17                                 UNITED STATES DISTRICT COURT

                                          18                            NORTHERN DISTRICT OF CALIFORNIA

                                          19                             EUREKA-MCKINLEYVILLE DIVISION

                                          20   JULIA HECK, on behalf of herself and all others   Case No.:
                                               similarly situated,
                                          21                                                     NOTICE OF REMOVAL
                                                                Plaintiff,
                                          22
                                                      v.
                                          23
                                               AMAZON.COM, INC.,
                                          24
                                                                Defendant.
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                                                NOTICE OF REMOVAL                                             Case No.:   __________
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                                           1                           NOTICE OF REMOVAL OF CIVIL ACTION
                                           2           Defendant Amazon.com, Inc. submits the following Notice of Removal of a Civil Action to
                                           3   the United States District Court for the Northern District of California, Eureka-McKinleyville
                                           4   Division, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.
                                           5   I.      PROCEDURAL BACKGROUND
                                           6           1.     Plaintiff Julia Heck filed a Class Action Complaint in the Superior Court of
                                           7   California for the County of Humboldt against Defendant, endorsed on May 16, 2022 and
                                           8   captioned, Julia Heck v. Amazon.com, Inc., No. CV2200665. In the Complaint, Plaintiff seeks
                                           9   damages, declaratory and injunctive relief, and other relief individually and on behalf of a class of
                                          10   California consumers based on allegations that Amazon violated California’s Consumer’s Legal
                                          11   Remedies Act (“CLRA”), Cal. Bus. & Prof. Code § 1750, et seq., and Unfair Competition Law
                                          12   (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq., by failing to comply with California’s Automatic
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                                          13   Renewal Law, Cal. Bus. & Prof. Code § 17600, et seq., when Amazon charged Amazon Prime
                                          14   customers on a recurring basis for an Audible subscription.
                                          15           2.     Service of the Summons and Complaint on Defendant was effective on June 8, 2022,
                                          16   when Defendant’s counsel executed and returned a Notice of Acknowledgment of Receipt pursuant
                                          17   to California Code of Civil Procedure § 415.30. Attached as Exhibit A to the Declaration of
                                          18   Jedediah Wakefield (“Wakefield Decl.”) are copies of the Summons, Complaint, and other case-
                                          19   initiating documents. Attached as Exhibit B is a copy of the Notice and Acknowledgement of
                                          20   Receipt signed by Defendant and returned to Plaintiff (Wakefield Decl., Ex. B).
                                          21           3.     Defendant timely filed this Notice of Removal pursuant to 28 U.S.C. § 1446(b)
                                          22   within 30 days of service of the Summons and Complaint and less than one year since the action
                                          23   commenced.
                                          24           4.     Plaintiff alleges she is a citizen of California. Wakefield Decl., Ex. A (Complaint
                                          25   ¶ 7).
                                          26           5.     Defendant is a Delaware corporation and therefore a citizen of Delaware. Defendant
                                          27   is also a citizen of Washington as it has its principal place of business in Seattle, Washington. See
                                          28   28 U.S.C. § 1332(c)(1); Wakefield Decl., Ex. A ¶ 8.

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                                           1   II.     JURISDICTIONAL BASIS FOR REMOVAL UNDER THE CLASS ACTION
                                                       FAIRNESS ACT, 28 U.S.C. § 1332(D)
                                           2

                                           3           6.     This Court has original jurisdiction over this matter pursuant to the Class Action

                                           4   Fairness Act (“CAFA”), which provides for federal jurisdiction over class actions in which “the

                                           5   matter in controversy exceeds the sum or value of $5,000,000, exclusive of interests and costs,”

                                           6   and “any member of a class of plaintiffs is a citizen of a State different from any defendant.” 28

                                           7   U.S.C. § 1332(d)(2). These requirements are satisfied here.

                                           8           Class Action Status

                                           9           7.     This action meets the definition of a “class action” under CAFA because Plaintiff

                                          10   brings class allegations pursuant to California Code of Civil Procedure § 382, a “State statute …

                                          11   authorizing an action to be brought by one or more representative persons as a class action.” 28

                                          12   U.S.C. § 1332(d)(1)(B).
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                                                       Number of Proposed Class Members
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                                          13

                                          14           8.     CAFA requires that a putative class consist of at least 100 persons. 28 U.S.C. §

                                          15   1332(d)(5)(B). This case easily satisfies that number, as Plaintiff alleges that the total number of

                                          16   class members are in the “tens of thousands.” Wakefield Decl., Ex. A ¶ 30.

                                          17           Amount in Controversy

                                          18           9.     CAFA requires that the aggregate amount in controversy exceed $5,000,000. See

                                          19   28 U.S.C. § 1332(d)(2); 28 U.S.C. § 1332(d)(6) (“In any class action, the claims of the individual

                                          20   class members shall be aggregated to determine whether the matter in controversy exceeds the sum

                                          21   or value of $5,000,000, exclusive of interest and costs.”). That threshold is met here.

                                          22           10.    As specified in § 1446(a), a defendant’s notice of removal need include only a

                                          23   plausible allegation that the amount in controversy exceeds the jurisdictional threshold. As the

                                          24   Ninth Circuit has noted, the amount in controversy is the “amount at stake in the underlying

                                          25   litigation.” Gonzales v. CarMax Auto Superstores, LLC, 840 F.3d 644, 648 (9th Cir. 2016)

                                          26   (emphasis added) (quotation marks and citations omitted). “‘Amount at stake’ does not mean likely

                                          27   or probable liability; rather, it refers to possible liability.” Greene v. Harley-Davidson, Inc., 965

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                                           1   F.3d 767, 772 (9th Cir. 2020) (reversing district court’s denial of CAFA removal in CLRA and

                                           2   false advertising case where plaintiff sought punitive damages).

                                           3          11.     Here, Plaintiff’s definition of the proposed class and the relief sought satisfy the

                                           4   amount in controversy requirement.

                                           5          12.     Plaintiff asserts claims under the CLRA (Cal. Bus. & Prof. Code § 1750) and UCL

                                           6   (Cal. Bus. & Prof. Code § 17200) individually and on behalf of “All persons in California who

                                           7   were charged for Audible services from May 13, 2018 to the date of judgment, and did not stream

                                           8   or download any content from Audible during the subscription period or after the free trial

                                           9   subscription period.” Wakefield Decl., Ex. A ¶ 28. Plaintiff seeks damages pursuant to the CLRA.

                                          10   Id. ¶ 51. In addition to costs and interest, Plaintiff’s Prayer for Relief seeks punitive damages,

                                          11   attorneys’ fees, restitution, disgorgement, and injunctive relief. Wakefield Decl., Ex. A at 11.

                                          12          13.     Although Amazon denies that Plaintiff is entitled to any relief, Plaintiff’s combined
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                                          13   actual and punitive damages claim, the costs of injunctive relief, and the claim for attorneys’ fees

                                          14   combined exceed the $5,000,000 threshold. See Novak v. Boeing Co., No. 09-01011, 2009 WL

                                          15   10676175, at *2 (C.D. Cal. Nov. 10, 2009) (holding that the amount of controversy requirement

                                          16   was met where the complaint alleged a class of greater than 1,000 people); Galt G/S v. JSS

                                          17   Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (holding that attorneys’ fees may be included in

                                          18   the amount in controversy where the underlying statute authorizes an award). Plaintiff alleges that

                                          19   she paid $59.80 for an Audible subscription, and she seeks relief on behalf of “tens of thousands”

                                          20   of putative class members (that is, at least 20,000 class members). Combining the actual damages

                                          21   sought with Plaintiff’s claim for punitive damages, which can be up to four times actual damages,

                                          22   plus attorneys’ fees, which can be 25 percent of total recovery, and the amount “at stake” exceeds

                                          23   the amount in controversy requirement. See In re Volkswagen “Clean Diesel” Mktg., Sales Pracs.,

                                          24   & Prod. Liab. Litig., 445 F. Supp. 3d 535, 555 (N.D. Cal. 2020) (finding that a punitive damages

                                          25   award under the CLRA of four times the actual damages was appropriate); Fischel v. Equitable

                                          26   Life Assurance Soc’y of U.S., 307 F.3d 997, 1006 (9th Cir. 2002) (“We have established a 25 percent

                                          27   ‘benchmark’ in percentage-of-the-fund cases that can be ‘adjusted upward or downward to account

                                          28   for any unusual circumstances involved in [the] case.’”) (alteration in original) (citation omitted);

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                                           1   see also Wakefield Decl. Exs. C and D (motions in which Reese LLP, Plaintiff’s counsel in this

                                           2   case, sought fees of 19.8% and 30% of class action settlement funds).

                                           3            Diversity of Citizenship

                                           4            14.    There is diversity of citizenship in this action to satisfy the minimum diversity

                                           5   requirements under CAFA. Plaintiff is a citizen of California. Defendant Amazon.com, Inc. is a

                                           6   citizen of Delaware and has its principal place of business in Washington, so there is diversity of

                                           7   citizenship from the California Plaintiff and alleged California class. See 28 U.S.C. § 1332(d)(2)(C)

                                           8   (There is sufficient diversity where “any member of a class of plaintiffs is a citizen of a State and

                                           9   any defendant is … a citizen … of a foreign state.”).

                                          10   III.     POTENTIAL EXCEPTIONS TO CAFA THAT COULD PERMIT REMAND

                                          11            15.    CAFA contains three potential exceptions to federal jurisdiction that do not apply

                                          12   here. See 28 U.S.C. §§ 1332(d)(3)-(4). Although, Plaintiff, not Defendant, has the burden to prove
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                                          13   these exceptions should she seek remand, these exceptions are inapplicable here. See Serrano v.

                                          14   180 Connect, Inc., 478 F.3d 1018, 1022 (9th Cir. 2007) (concluding that the party seeking to remand

                                          15   bears the burden of proving an exception to CAFA jurisdiction).

                                          16            16.    The Discretionary Exception. Federal courts may decline CAFA jurisdiction in

                                          17   certain instances where greater than one-third, but less than two-thirds, of the members of the

                                          18   proposed class are citizens of the state in which the class action was originally filed. 28 U.S.C. §

                                          19   1332(d)(3). Here, all of the proposed class members are citizens of California (Wakefield Decl.,

                                          20   Ex. A ¶ 28), so this exception does not apply.

                                          21            17.    The Local Controversy Exception. Federal courts must decline CAFA jurisdiction

                                          22   where: (1) greater than two-thirds of the class are citizens of the state in which the class action was

                                          23   originally filed; (2) at least one defendant is a defendant (aa) from whom significant relief is sought

                                          24   by members of the plaintiff class, (bb) whose alleged conduct forms a significant basis for the

                                          25   claims asserted by the proposed plaintiff class, and (cc) who is a citizen of the state in which the

                                          26   action was originally filed; (3) the principal injuries resulting from the alleged conduct or any

                                          27   related conduct of each defendant were incurred in the state in which the action was originally filed;

                                          28   and (4) no other class action was filed in the three preceding years asserting the same or similar

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                                           1   factual allegations against any of the defendants on behalf of the same or other persons. 28 U.S.C.

                                           2   § 1332(d)(4)(A). In this case, requirement 2 of Section 1332(d)(4)(A) is not met because Defendant

                                           3   is not a citizen of California, the state in which the action was originally filed. See Wakefield Decl.,

                                           4   Ex. A ¶ 8.

                                           5           18.    The Home-State Controversy Exception.            Federal courts must decline CAFA

                                           6   jurisdiction where two-thirds or more of the members of the class and the primary defendants are

                                           7   citizens of the state where the class action was originally filed. 28 U.S.C. § 1332(d)(4)(B). Here,

                                           8   Defendant is not a citizen of California, so this exception also does not apply. See Wakefield Decl.,

                                           9   Ex. A ¶ 8.

                                          10   IV.     PROCEDURAL REQUIREMENTS FOR REMOVAL

                                          11           19.    Removal is Timely. “The notice of removal of a civil action or proceeding shall be

                                          12   filed within 30 days after the receipt by the defendant, through service or otherwise, of a copy of
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                                          13   the initial pleading setting forth the claim for relief upon which such action or proceeding is based.”

                                          14   28 U.S.C. § 1446(b)(1). Defendant was served with a summons, Complaint, and Notice and

                                          15   Acknowledgement of Receipt on June 8, 2022. Wakefield Decl. ¶ 2, Exs. A-B. This Notice of

                                          16   Removal is therefore timely filed.

                                          17           20.    Removal to Proper Court. Removal to this Court is proper because it is “the district

                                          18   and division within which [this action] is pending.” 28 U.S.C. § 1446(a); see also Civil L.R. 3-2(f).

                                          19           21.    Pleadings and Process. Pursuant to 28 U.S.C. § 1446(a), “a copy of all process,

                                          20   pleadings, and orders served upon” Defendant in this action are attached hereto as Exhibits A and B.

                                          21           22.    Notice to Adverse Parties and State Court. Promptly after the filing of this Notice

                                          22   of Removal, Defendant will serve a copy on all counsel of record and file a copy with the Clerk of

                                          23   the Superior Court of California for the County of Humboldt, in accordance with 28 U.S.C. §

                                          24   1446(d). Defendant is serving this Notice of Removal on Plaintiff’s counsel of record, Michael R.

                                          25   Reese, Sue J. Nam, Charles D. Moore, and George V. Granade, via electronic and U.S. mail

                                          26   addressed to their offices located at 8484 Wilshire Blvd., Suite 515, Los Angeles, California 90211.

                                          27   Defendant is also filing a copy of the Notice of Removal of a Civil Action in the Superior Court of

                                          28   California for the County of Humboldt.

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                                           1          23.     This Notice of Removal is based on the allegations of the Complaint and does not

                                           2   admit the truth of the facts asserted in the Complaint, the validity of Plaintiff’s claim, the ability to

                                           3   certify a class, the existence of injury, or damages in any form.

                                           4          24.     WHEREFORE, Defendant Amazon.com, Inc. notifies this Court that this cause has

                                           5   been removed from the Superior Court of California for the County of Humboldt to the United

                                           6   States District Court for the Northern District of California, pursuant to the provisions of 28 U.S.C.

                                           7   §§ 1332, 1441, and 1446.

                                           8
                                               Dated: July 7, 2022                            FENWICK & WEST LLP
                                           9

                                          10
                                                                                              By: /s/ Jedediah Wakefield
                                          11                                                      Jedediah Wakefield
                                                                                                  Brian D. Buckley
                                          12                                                      Matthew Becker
F ENWICK & W EST LLP




                                                                                                  Janie Yoo Miller
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                                          13                                                      Esther D. Galan
                                          14                                                       Counsel for Defendant
                                                                                                   AMAZON.COM, INC.
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